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             EXHIBIT 7
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                                                                   Page 1

 1
 2      UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
 3      ---------------------------------x
        KATHRYN TOWNSEND GRIFFIN,
 4      HELEN MCDONALD, and THE ESTATE
        OF CHERRIGALE TOWNSEND,
 5
                    -against-
 6                                        Civil Action No.:
                                          1:17-CV-05221-RJS/GRIFFIN
 7
 8      EDWARD CHRISTOPHER SHEERAN,
        p/k/a ED SHEERAN, ATLANTIC
 9      RECORDING CORPORATION, d/b/a
        ATLANTIC RECORDS, SONY/ATV
10      MUSIC PUBLISHING LLC and
        WARNER MUSIC GROUP
11      CORPORATION, d/b/a ASYLUM
        RECORDS,
12
                              Defendants.
13
        ---------------------------------x
14                       May 30, 2018
15                       10:02 a.m.
16
17           Videotaped Deposition of ALEXANDER STEWART,
18      taken by Defendants, pursuant to Notice, held at the
19      law offices of Pryor Cashman, LLP, 7 Times Square,
20      New York, New York, before Judith Castore, a
21      Certified Livenote Reporter and Notary Public of the
22      State of New York.
23
24
25

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                                             Page 82                                                Page 84
 1                 STEWART                              1                STEWART
 2 correct?                                             2     A It is accurate. I'm not sure
 3    A It informed my work to some                     3 it's exhaustive.
 4 extent. But, no, I didn't include it                 4     Q Well, what's missing?
 5 explicitly in the analysis.                          5     A Well, it's missing the
 6    Q So your testimony is that you                   6 deposit copy and it's missing the lead
 7 did review the deposit copy before you               7 sheets, the published sheet music which
 8 rendered your June 2015 report?                      8 I referenced repeatedly in my report,
 9    A No. I don't recall the                          9 but I apparently didn't include it in
10 timing.                                             10 this paragraph.
11    Q So you don't know whether it                   11      Q We would also ask that any
12 informed that?                                      12 sheet music that you reviewed in
13    A Yeah, that's a good call. I                    13 connection with your report should be
14 don't recall if it informed that or                 14 produced to us, as well.
15 not.                                                15      A I believe it was attached to
16    Q And do you recall whether you                  16 this report, the sheet music.
17 reviewed the deposit copy before you                17      Q I don't believe it was.
18 rendered your December 2017 report?                 18 Certainly not both.
19    A Yes, I did.                                    19      A Certainly Thinking Out Loud
20    Q And your testimony is that it                  20 was. And this seems to be missing the
21 informed your opinion in your                       21 table of contents where I list my
22 December 2017 report?                               22 attachments. Do you have that, too?
23    A I found that it supported                      23      Q This is what was provided to
24 everything in my report.                            24 us.
25    Q But in your December 2017                      25      A But you know there were
                                             Page 83                                                Page 85
 1                 STEWART                              1                STEWART
 2 report you don't identify the deposit                2 attachments with this.
 3 copy as materials that you reviewed in               3     Q I wasn't given any
 4 analyzing the two songs at issue,                    4 attachments. So we're going to --
 5 correct?                                             5 we'll confirm that. Obviously to the
 6     A I don't know. Can I see my                     6 extent we were given them, we will
 7 report?                                              7 correct ourselves, but -- and to the
 8     Q Sure.                                          8 extent that we weren't given them, we
 9        (Dr. Alexander Stewart's                      9 obviously need to get them and reserve
10     report dated 12/8/17, was marked                10 the rights on this deposition pending
11     Stewart Exhibit 2, for                          11 all of that.
12     identification, as of this date.)               12         So your testimony is that you
13     Q So I'm showing you what's                     13 did have a copy of the deposit copy of
14 been marked Stewart Exhibit 2, which is             14 Let's Get It On prior to rendering your
15 your report dated December 8, 2017.                 15 December 2017 report?
16 And I'll direct your attention to the               16     A I believe so.
17 first page.                                         17     Q And you didn't believe that
18        Is this an accurate copy of                  18 it was necessary to refer to it or
19 your December 8, 2017 report in this                19 reference it in any way in this report?
20 case?                                               20     A I found that it supported all
21     A It appears to be.                             21 my work and it's not referenced in my
22     Q And does the second paragraph                 22 report.
23 on Page 1 accurately list the materials             23     Q Do you know whether the
24 that you reviewed in connection with                24 deposit copy of Let's Get It On was
25 issuing this report?                                25 created after the sound recording of
                                                                                      22 (Pages 82 - 85)
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                                             Page 86                                                Page 88
 1                STEWART                               1                STEWART
 2 Let's Get It On that you reviewed was                2 based on? Actually no -- strike that.
 3 created?                                             3        Did they give you a date when
 4    A It's my understanding that it                   4 it was transcribed?
 5 was.                                                 5     A No.
 6    Q And what is that                                6     Q Did they tell you that it was
 7 understanding based on?                              7 transcribed after the sound recording
 8    A Based on the fact that it was                   8 was created?
 9 transcribed by an associate of                       9     A It was implied in the way it
10 Mr. Townsend and --                                 10 was described to me that this
11    Q Anything else?                                 11 gentleman, whose name I don't recall,
12    A Well, that was standard                        12 generally worked with Mr. Townsend and
13 practice in the industry, it's standard             13 transcribed his music after it was
14 practice now.                                       14 recorded and then it was deposited in
15    Q Anything else?                                 15 the U.S. Copyright Office. That was
16    A That's all that comes to                       16 the way they worked and that's what was
17 mind.                                               17 implied in the way it was described to
18    Q So you don't know for a fact                   18 me.
19 whether or not the deposit copy was                 19     Q Did plaintiff's counsel
20 created before or after the song was                20 specifically say to you that the
21 recorded, correct?                                  21 deposit copy of Let's Get It On was
22    A Oh, I believe it was created                   22 transcribed after the sound recording
23 after.                                              23 was created?
24    Q But you're basing that on                      24        MR. FRANK: Objection.
25 your assumptions based on standard                  25     Relevance. Asked and answered.
                                             Page 87                                                Page 89
 1                STEWART                               1                 STEWART
 2 practice and the fact that an associate              2        Go ahead.
 3 of Mr. Townsend created it?                          3    A I thought it was strongly
 4    A Yes.                                            4 implied in what they said.
 5    Q But you don't know when that                    5    Q Yes or no, did they
 6 associate of Mr. Townsend actually                   6 specifically say to you that the
 7 transcribed it, correct?                             7 deposit copy was transcribed after the
 8    A I was not there when he did.                    8 sound recording was created?
 9    Q And you haven't done anything                   9    A I don't remember their exact
10 to determine when that occurred,                    10 words.
11 correct?                                            11        MR. GOLDSMITH: Going back a
12    A I don't know what I could do                   12    little bit. I found the provision
13 beyond what I've done, which is to ask              13    of the report from you to us on
14 about it, who did it and circumstances.             14    December 8, 2017 by e-mail, and
15 I mean --                                           15    there is -- there are two
16    Q Who did you ask?                               16    attachments, one is Mr. -- Dr.
17    A Counsel.                                       17    Stewart's CV and the other is a
18    Q And did they give you a date                   18    one-page document that lists his
19 when it was transcribed?                            19    prior testimony during the last
20    A No.                                            20    four years. There's no other
21    Q And did they tell you that it                  21    attachments to the report that was
22 was transcribed after the sound                     22    provided to us.
23 recording was created?                              23        MR. FRANK: Okay.
24    A That was my understanding.                     24    Q What is your best
25    Q What was your understanding                    25 recollection of what you intended to
                                                                                    23 (Pages 86 - 89)
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                                             Page 118                                               Page 120
 1                 STEWART                               1                 STEWART
 2 that for us?                                          2     you.
 3     A It looks like a deposit copy                    3        I don't think there's any
 4 for Let's Get It On.                                  4     predicate or good faith offer
 5     Q And it's your testimony that                    5     prove to do that.
 6 at the time that you had received Dr.                 6        MS. FARKAS: Why do I need a
 7 Ferrara's report you had already seen                 7     predicate or a good faith offer to
 8 the deposit copy for Let's Get It On?                 8     prove? I'm deposing your expert.
 9     A Yes. I had seen this deposit                    9        MR. FRANK: I'm going to
10 copy that we're looking at right now.                10     direct him not to do that.
11     Q So I'm going to show you what                  11        MS. FARKAS: All right. Then
12 we have marked as Stewart Exhibit 5.                 12     we'll have to get the judge on the
13         (Let's Get It On deposit                     13     phone.
14     copy, was marked Stewart Exhibit                 14     Q Dr. Stewart, in the other
15     5, for identification, as of this                15 cases in which you've testified as an
16     date.)                                           16 expert have you ever been asked to
17     Q Which is just a copy, I will                   17 markup sheet music or markup an exhibit
18 represent to you another copy -- a                   18 before?
19 larger copy of the Let's Get It On                   19     A Yes.
20 deposit copy. And I would ask you if                 20     Q And have you done it?
21 you could, on that exhibit, hand write               21     A Once I was told that I could
22 the structural sections of Let's Get It              22 do it and another time I was told not
23 On?                                                  23 to.
24         MR. FRANK: We're going to                    24     Q So in the time that you were
25     direct him not do that. He's not                 25 told you could do it you did it,
                                             Page 119                                               Page 121
 1                STEWART                                1                STEWART
 2    going to create any evidence. He                   2 correct?
 3    will comment or testify as to                      3     A Yes.
 4    what's before him, but he's not                    4     Q And do you have any knowledge
 5    going to do that.                                  5 as to whether or not the exhibits that
 6        MS. FARKAS: You're directing                   6 you marked up were allowed and
 7    him not to do that?                                7 considered by the court?
 8        MR. FRANK: I'm directing him                   8     A I don't.
 9    not to do that.                                    9     Q Did you ever see them in
10        You could ask him anything                    10 papers that were submitted to the
11    you want, but he's not going to                   11 court?
12    create evidence for us.                           12     A I'm not sure what you mean
13        MS. FARKAS: What's the basis                  13 papers submitted to the court.
14    for that objection?                               14     Q So in the other cases where
15        MR. FRANK: Because you're                     15 you say -- in the other case where you
16    asking him to create evidence.                    16 said that you were permitted to markup
17    It's irrelevant. His position                     17 an exhibit, which case was that?
18    here is to testify as to his                      18     A You see I seem to recall
19    report and he can comment on                      19 doing that in a deposition and I'll
20    Mr. Ferrara's report.                             20 have to think now which one it was. I
21        But we don't have expert                      21 mean, it's possible I'm remembering
22    witnesses create documents at your                22 incorrectly. I remember being
23    direction during depositions. You                 23 instructed not to and I didn't and
24    could you ask him anything, he's                  24 nothing happened.
25    not going to create documents for                 25     Q Well, let's -- looking at the
                                                                                   31 (Pages 118 - 121)
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                                             Page 122                                                Page 124
 1                STEWART                                1                STEWART
 2 deposit copy of Let's Get it On, if you               2 begins at we're all sensitive people, I
 3 were to -- if you were permitted to                   3 believe. Yeah.
 4 tell me what -- how to chart out the                  4     Q So I'm looking at Page 2.
 5 structure of the deposit copy of Let's                5 What I'm counting as bar 32, the last
 6 Get It On, and if you look at the first               6 bar of the first line of Page 2 that
 7 bar of the music and looking at the                   7 has the lyrics we're all?
 8 deposit copy, what section of the song                8     A Yeah, that's the beginning of
 9 would you say begins at the first bar?                9 the next section.
10     A The verse.                                     10     Q What section is that?
11     Q And what bar would you say                     11     A A verse.
12 the verse ends?                                      12     Q How long does that verse go
13     A I believe -- I can count                       13 on for?
14 through it, but I believe it ends at                 14     A Sixteen measures again.
15 the 16th. Yes, 16th.                                 15     Q So is it your testimony that
16     Q And is the 16th the fourth                     16 the next section would begin on the
17 line down, last bar?                                 17 fifth line down last bar with the
18     A Penultimate bar fourth line                    18 lyrics, there's?
19 down.                                                19     A Correct.
20     Q Where it says let's get it?                    20     Q And what section of the song
21     A Well, the let's get it is                      21 is that?
22 actually part of the next section.                   22     A It's another verse.
23     Q What would the -- so the next                  23     Q Okay.
24 section would begin on the 16th bar?                 24         And how long does that go
25     A Well, in some sense because                    25 for?
                                             Page 123                                                Page 125
 1                STEWART                                1                STEWART
 2 of the melodic phrase, but then in                    2    A Probably 16 again. There's a
 3 terms of the underpinning harmonies and               3 real pattern happening here, right?
 4 so forth you could say that in the                    4 Yeah. In fact, this is indicated by
 5 17th bar the next section begins.                     5 the double bar at the bottom of the
 6     Q And what section is that?                       6 page, that is the end of that verse.
 7     A It's the chorus.                                7    Q So you're referring to the
 8     Q And when does that chorus                       8 bottom of Page 2, the last line at the
 9 section end, what bar?                                9 end of the third bar?
10     A I think 16 bars later. Yes.                    10    A Um-hum.
11     Q So is that on Page 2?                          11    Q And the fourth --
12     A Yes.                                           12    A The third bar on the bottom
13     Q It ends with the phrase with                   13 line on Page 2 is the end of that
14 so much to give?                                     14 section and it's indicated very clearly
15     A Well, with so much to give is                  15 with a double bar.
16 actually again -- let me just count.                 16    Q And so the next section
17 That's probably the same as before, the              17 begins in the bar with the rests and
18 melodic phrase and the lyrics are                    18 the lyric don't?
19 anticipating the next section, but in                19    A Yes, and the chord A-flat
20 terms of the underpinnings it begins on              20 written above.
21 the measure to give. But let me count.               21    Q Correct.
22        No. Sixteen measures ends                     22        And that -- and that is -- I
23 with the oh, I believe.                              23 agree. I concur that there's an A-flat
24     Q Okay.                                          24 there. Got one in.
25     A So then the next section                       25        And what section is that?
                                                                                      32 (Pages 122 - 125)
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                                             Page 126                                                Page 128
 1                 STEWART                               1                 STEWART
 2    A I would call that the bridge.                    2     Q And you identified a new
 3    Q How long does that go for?                       3 section beginning in the second to last
 4    A I think it goes on all the                       4 line of Page 3, and in the last bar of
 5 way to the next double bar on Page 3.                 5 that line that begins with the lyrics
 6    Q Are you referring to Page 3                      6 it on. And I'm asking you what would
 7 the eighth line down, second line from                7 you call that section?
 8 the bottom?                                           8     A Yeah. It's a little
 9    A Yes.                                             9 difficult. This section that begins
10    Q Where there's the double bar?                   10 with let's get it on, to me it's a
11    A Um-hum.                                         11 little nebulous what to call it. It
12    Q And the last bar of music has                   12 appears it has elements of the chorus
13 the lyrics it on?                                    13 because its got the hook let's get it
14    A Yes.                                            14 on, but then it kind of starts to seem
15    Q And what section begins at                      15 like it did turns back into a verse
16 that bar?                                            16 sort of partway through. So I'm having
17    A Another verse.                                  17 a hard time just saying that it's
18    Q You would call that a verse?                    18 clearly one or the other, but it's
19    A Yeah.                                           19 definitely another section.
20    Q And when does that end?                         20     Q Where would that section end?
21    A Well -- actually, yeah,                         21     A That would end in the next
22 because it has the hook basically let's              22 place where it says A-flat on Page 4,
23 get it on I think we have to call it a               23 and there we have another bridge just
24 chorus. Sorry.                                       24 as before it began on A-flat on page --
25    Q When does that end?                             25 at the bottom of Page 2, and now we
                                             Page 127                                                Page 129
 1                 STEWART                               1                STEWART
 2        MS. RICE: I'm sorry, I want                    2 have -- moving to A-flat again here.
 3     to make sure I understand the                     3 So where it says come on, come on, come
 4     question.                                         4 on, come on, come on, that's --
 5        Are we asking where he thinks                  5    Q So just to be clear, you're
 6     that verse that he just talked                    6 saying that the next section begins on
 7     about ends or where the next                      7 Page 4, Line 7?
 8     reference to the chorus is? What                  8    A Yes.
 9     are you -- because he's talked                    9    Q Bar 4?
10     about both and so I'm not sure                   10    A Yes.
11     what you're --                                   11    Q What would you call that
12     Q Do you understand the                          12 section?
13 question?                                            13    A Bridge, a short bridge.
14     A The question that's pending                    14    Q Okay.
15 now is where is the next section,                    15        And how long does that --
16 correct? Where does the next section                 16    A Until the next double bar.
17 begin?                                               17 So that would last one, two, three,
18     Q Right. But let's make sure                     18 four, five, six, seven -- eight
19 the word next is the same to both of                 19 measures.
20 us.                                                  20    Q So now we're on the bottom of
21        So we've -- let's just start                  21 the same page?
22 from the beginning. We've identified                 22    A Yes.
23 there's a verse -- well, we're on Page               23    Q The last bar of music?
24 3 of the deposit copy, correct?                      24    A Yes.
25     A Yes.                                           25    Q And what would you call that?
                                                                                    33 (Pages 126 - 129)
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                                             Page 130                                                Page 132
 1                 STEWART                               1                STEWART
 2     A That's another sort of tricky                   2 they have similarities.
 3 one. I guess you could call it another                3    Q But they're different,
 4 verse, but it's also kind of the outro                4 correct?
 5 or ending.                                            5        MR. FRANK: Asked and
 6     Q So would you call either the                    6    answered.
 7 outro or --                                           7        Objection.
 8     A An ending that is based kind                    8    A There are differences and
 9 of on the verse and it just kind of                   9 there are similarities.
10 repeats to the end.                                  10     Q Well, if something has
11     Q Thank you.                                     11 differences and similarities they're
12        If you look at Page 5 of the                  12 not the same, correct?
13 Ferrara report.                                      13     A They are not identical.
14        If you look at the structure                  14     Q They're not even close to
15 of Thinking Out Loud that Dr. Ferrara                15 identical, are they?
16 has written at the bottom of Page 5.                 16        MR. FRANK: Objection.
17        Do you see that?                              17        Asked and answered.
18     A Yes.                                           18        You can go ahead.
19     Q I'm going to read to you what                  19     A I have to say they have
20 you have just told me is the structure               20 similarities and differences. And I
21 of the deposit copy of Let's Get It On,              21 think some of the similarities are
22 and I'd like you to compare it to the                22 important. I'd be happy to tell you
23 structure of Thinking Out Loud as                    23 what you they are.
24 charted by Dr. Ferrara.                              24     Q I'm simply asking you if the
25        So you have told me that it's                 25 structure of the two songs is the same.
                                             Page 131                                                Page 133
 1                STEWART                                1                 STEWART
 2 verse 16 bars, chorus 16 bars, verse 16               2 I didn't ask you if have they have
 3 bars, verse 16 bars, bridge, I believe                3 similarities, I asked you if they are
 4 you also said 16 bars. The next                       4 the same structurally?
 5 section --                                            5        MR. FRANK: Objection. Asked
 6     A The bridge, no, it was                          6     and answered.
 7 longer. That first bridge in Let's Get                7        Go ahead.
 8 It On is longer.                                      8     Q Are the structures of the
 9     Q You're right, 32 bars.                          9 deposit copy of Let's Get It On and
10     A Um-hum.                                        10 Thinking Out Loud the same?
11     Q So bridge 32 bars. The next                    11     A They have important
12 section you were unclear whether you                 12 similarities and they have important
13 would label that as a verse or a                     13 differences.
14 chorus?                                              14     Q What key is the deposit copy
15     A Um-hum.                                        15 of Let's Get It On in?
16     Q You had it at 32 bars. The                     16     A E-flat.
17 next section you had as a bridge for                 17     Q And what key is the recorded
18 eight bars, and then you had the outro               18 version of Let's Get It On in?
19 or verse for the remainder of the song?              19     A E-flat.
20     A Yes.                                           20     Q And your transcriptions are
21     Q Would you agree that the                       21 the key of D major, correct?
22 structure of the Let's Get It On                     22     A D major?
23 deposit copy and Thinking Out Loud are               23     Q Yeah.
24 different?                                           24     A Yeah because I transposed
25     A They have differences and                      25 them to the same key for comparison
                                                                                     34 (Pages 130 - 133)
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                                             Page 134                                                Page 136
 1                 STEWART                               1                STEWART
 2 purposes which is standard                            2 used in other compositions prior to
 3 musicological procedure.                              3 Let's Get It On.
 4     Q And what is the basic chord                     4     Q And would you agree that it's
 5 progression in Let's Get It On deposit                5 a relatively common chord progression
 6 copy?                                                 6 that predates Let's Get It On?
 7     A For the verses and choruses                     7     A I wouldn't say it's that
 8 it is in the key of E-flat. Should I                  8 common.
 9 give it to you or in the key of D or                  9     Q How common would you say it
10 using Roman numerals?                                10 is?
11     Q No, Roman numerals.                            11     A Well, there were -- out of
12     A One with the capital I                         12 hundreds of thousands of songs there
13 meaning major, three with three small                13 were a handful who used it. I can't
14 Is meaning minor, and then IV major, V               14 really -- I mean it was more than -- a
15 major. So I, III, IV, V.                             15 lot more than one. More than one and
16     Q And would I be correct that                    16 certainly not --
17 the V is a V major VII?                              17     Q Hundreds?
18     A No, it's not.                                  18     A I don't think so.
19     Q So it's your testimony that                    19     Q Dozens?
20 the deposit copy, the last chord in the              20     A I think Dr. Ferrara has done
21 chord progression is not a V major VII?              21 a pretty good job of trying to find
22     A It would be my testimony,                      22 every song that has a progression
23 yes.                                                 23 that's even remotely similar and he's
24     Q Would you agree that the                       24 come up with how many.
25 basic chord progression in the Let's                 25     Q What makes you think he's
                                             Page 135                                                Page 137
 1                STEWART                                1                STEWART
 2 Get It On deposit copy and Thinking Out               2 done a pretty good job of finding every
 3 Loud are not identical?                               3 song that has that progression?
 4    A They are extremely similar                       4     A Well, because this is what he
 5 but they are not identical.                           5 kind of always does is try to bury us
 6    Q Looking at the deposit copy,                     6 with so-called prior art that he says
 7 the fourth chord depicted there, what                 7 is similar.
 8 do you see written there?                             8     Q Well, how many pieces of
 9    A B-flat VII.                                      9 prior art do you think are enough to
10    Q So is that not a V major VII?                   10 prove that it's not original to Let's
11    A It's not.                                       11 Get It On?
12    Q What is it?                                     12      A Well, I think I already said
13    A It's a V dominant VII.                          13 it's not original so I don't think we
14    Q V dominant VII?                                 14 have any issue there. I said that
15    A Yes.                                            15 other songs have this chord
16    Q How would you actually notate                   16 progression.
17 that in your report Roman Numeral wise?              17      Q So can I turn your attention
18    A V-VII. Roman Numeral 5.                         18 to Visual Exhibit E to Dr. Ferrara's
19    Q Roman numeral 5 like a V --                     19 report?
20 an upper case V with a VII.                          20      A Visual Exhibit E.
21        Do you agree that the basic                   21        Yes.
22 chord progression in the Let's Get It                22      Q And do you see that this is
23 On deposit copy is not original to                   23 an excerpt from a guitar method book
24 Let's Get It On?                                     24 called Guitar for Advanced Beginners.
25    A These four chords have been                     25        Do you see that?
                                                                                     35 (Pages 134 - 137)
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                                         Page 138                                                Page 140
 1                STEWART                            1                STEWART
 2     A It's very difficult to read.                2     A Yes.
 3 But, yes, it seems to say that.                   3     Q Do you agree?
 4     Q If you turn the page twice                  4     A First of all --
 5 you can see that there's an excerpt               5        MR. FRANK: Which part of the
 6 from Page 84 of this Guitar Book for              6     sentence are you asking him if he
 7 Advanced Beginners?                               7     agrees with? There's several
 8     A Yes.                                        8     propositions. Whether Marvin Gaye
 9     Q And do you see about midway                 9     plagiarized Let's Get It On or
10 down -- the bottom half of the page              10     whether it's common progression
11 references the chord progression that            11     and every other professional
12 is at issue here.                                12     songwriter uses it?
13         Do you see that? The                     13     Q Is there anything in that
14 I-III-IV-V chord progression?                    14 sentence that you disagree with?
15     A Yes.                                       15     A Well, just on your previous
16     Q And do you see the sentence                16 sentence that you read I would like to
17 right above that that says by the                17 say that some of these songs that are
18 way -- well, hold on. The start of               18 listed postdate Let's Get It On, so
19 that section says, we first played the           19 that needs to be pointed out. No, I
20 I-III-IV-V progression in Class VII.             20 have not listened to all of them. But
21 And then I'm skipping over the next              21 in terms of the sentence you just read,
22 sentence, is says is shows up in songs           22 I don't think I have a problem with
23 like "If I Had A Hammer" by Pete Seeger          23 that. I think what's unique about what
24 and Lee Hays, "Cruel to be Kind" by              24 Marvin Gaye did was the way that he
25 Nick Lowe, "Ziggie Stardust" by David            25 expressed it -- this chord progression
                                         Page 139                                                Page 141
 1                STEWART                            1                 STEWART
 2 Bowe, "Good Little Girl/Bad Little Boy"           2 in a distinctive way. So this case is
 3 from Adventure Time, "Stuck on You" by            3 not really just about abstract four
 4 Lionel Richie, "Live and Let Die" by              4 chords, it's about how these four
 5 the Wings, "Fun, Fun, Fun" by the Beach           5 chords were expressed in this
 6 Boys, "Crocodile Rock" by Elton John              6 composition.
 7 and "Let's Get It On" by Marvin Gaye.             7     Q Well, but if the -- if the
 8        Do you see that?                           8 existence of this chord progression
 9     A Yes.                                        9 were the only similarity that you found
10     Q Do you disagree with any of                10 between these two songs, would your
11 those? Do you disagree with anything             11 conclusion still be that the similarity
12 in that sentence?                                12 can only be the result of copying?
13     A I can't really comment on                  13         MR. FRANK: Objection,
14 that because I haven't listened to all           14     predicate.
15 of these songs to confirm that.                  15         Go ahead.
16     Q And it says, by the which                  16     A Could you repeat that?
17 even though Let's Get It On was                  17     Q Sure.
18 recorded in 1973 which is after dozens           18         If the existence of this
19 of other I-III-IV-V songs were                   19 similar chord progression were the only
20 recorded, I firmly believe that Marvin           20 similarity between these two
21 Gaye did not plagiarize this song - he           21 compositions, would your conclusion
22 was simply writing a song using a                22 still be that the similarity can only
23 common progression just like every               23 be the result of copying from Let's Get
24 other professional songwriter does.              24 It On?
25        Do you see that sentence?                 25     A Well, if it were just this
                                                                                36 (Pages 138 - 141)
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                                             Page 142                                                Page 144
 1                STEWART                                1                 STEWART
 2 chord progression in the abstract that                2 Maybe I misspoke, I will say it again.
 3 were the only thing in common; yeah, it               3    A I thought it said.
 4 would not -- what was your phrase?                    4    Q I might have misspoken.
 5    Q Well, I'm use your phrase                        5        So we had marked a report
 6 from your report which is that these                  6 from you that was signed by you and
 7 similarities can only be the result of                7 dated June 3, 2015, correct?
 8 copying Let's Get It On?                              8    A Yes.
 9    A That would not be my                             9    Q And you had testified
10 conclusion if that were the only thing.              10 earlier, I believe, that you had made
11 And that's, again, the chord                         11 certain changes to that report dated
12 progression in the abstract, just these              12 June 3, 2015, a few days later; is that
13 Roman numerals, not the way that it's                13 correct?
14 actually expressed in terms of                       14    A Yes.
15 rhythmically and all the other details.              15    Q And that you had sent that
16         MS. FARKAS: Why don't --                     16 onto plaintiff's counsel, correct?
17    it's probably a good time for a                   17    A Yes.
18    break.                                            18    Q How did you send it to
19         VIDEOGRAPHER: The time is                    19 plaintiff's counsel, via e-mail?
20    12:50. This is the end of Video                   20    A Well, you know, I left for
21    2. We're off the record.                          21 Europe like that same week and I recall
22         (Whereupon, a lunch recess                   22 that I attached it to an e-mail right
23    was taken at 12:50 p.m.)                          23 before I left. And then I was kind of
24                                                      24 out of touch for a couple of weeks.
25                                                      25        MS. FARKAS: Well, we would
                                             Page 143                                                Page 145
 1                 STEWART                              1                 STEWART
 2        AFTERNOON SESSION                             2     ask for the transmittal e-mail to
 3         (Time noted: 2:00 p.m.)                      3     be produced to us along with
 4 A-L-E-X-A-N-D-E-R S-T-E-W-A-R-T,                     4     whatever was sent along with it.
 5         Resumed, having been previously sworn by a   5        MR. FRANK: Sure.
 6 Notary Public within and for the State of New York, 6      Q Do you know -- I believe both
 7 was further examined and testified under oath as     7 your June 2015 report and your
 8 follows:                                             8 December 2017 report identify the
 9         VIDEOGRAPHER: The time is                    9 compensation for your preparing the
10     2:00 p.m. We're on the record.                  10 report and analysis at $275 an hour; is
11     This is Video 3.                                11 that correct?
12 CONTINUED EXAMINATION BY MS. FARKAS: 12                    A Yes.
13     Q Good afternoon, Dr. Stewart.                  13     Q Do you know what the total
14     A Good afternoon.                               14 compensation that you've been paid to
15     Q You had testified earlier                     15 date is on this matter?
16 about the June 2015 report and you had              16     A I don't recall.
17 testified that you had corrected or                 17     Q We have two transmittal
18 made certain changes to the June 2015               18 letters, the first one I had shown you
19 report a few days after you transmitted             19 from April 2015 that had a $2,000
20 the report dated June 3, 2015 to                    20 payment, and I will represent to you
21 plaintiff's counsel; is that correct?               21 that there's a second letter that has
22     A I'm confused because I'm not                  22 another 2000 payment sent to you.
23 sure what you mean by the June 15th                 23        Do you recall whether you
24 report.                                             24 were paid anything more than that
25     Q No, I said the June 2015.                     25 $4,000 on this matter?
                                                                                    37 (Pages 142 - 145)
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                                             Page 154                                                Page 156
 1                STEWART                                1                STEWART
 2 the Let's Get It On RP?                               2     A I have not really focused on
 3     A Okay.                                           3 the lyrics between the deposit copy and
 4        Now we're not comparing with                   4 Mr. Sheeran's song. And as I'm looking
 5 the sheet music that you gave me a                    5 at it now, I mean there are a lot of
 6 minute ago. We're not calling this RP,                6 references to "baby" and "sugar", I
 7 right?                                                7 think there's also a sugar in
 8     Q No.                                             8 Mr. Sheeran's song. But I think
 9     A The sheet music?                                9 there's nothing in this that I see that
10     Q It's the work that you used                    10 would cause me to radically revise that
11 to render your report.                               11 statement, no. I think there may be
12     A I can't answer that without                    12 some words held in common, but I don't
13 going through the whole recording and                13 see --
14 comparing it word-for-word.                          14     Q Do you think the appearance
15     Q On Page 12 of your report you                  15 of the word "baby" in two songs is
16 say, quote, I have found few important               16 something that gives rise to an
17 lyrical similarities; is that correct?               17 inference of copying?
18     A That's correct.                                18     A No. Not necessarily, no.
19     Q And is there anything in the                   19        I mean, you have it in the
20 lyrics that you see in the deposit copy              20 context of other similarities, too,
21 that would cause you to believe that                 21 but...
22 you would come to a different                        22     Q Are you saying that baby
23 conclusion if you were to review the                 23 doesn't appear in the recording of
24 lyrics of the deposit copy?                          24 Let's Get It On?
25     A In other words, do I -- would                  25     A It does. I don't know if it
                                             Page 155                                                Page 157
 1                 STEWART                               1                STEWART
 2 I still stand by that statement that                  2 appears as frequently. Anyway, I
 3 there were few similarities in the                    3 think -- rather than belabor this, I
 4 lyrics between the deposit copy of                    4 don't think that I would change that
 5 Let's Get It On and the recorded                      5 opinion, just to be clear.
 6 version of Thinking Out Loud?                         6        Okay.
 7     Q Correct.                                        7     Q On Page 3 of your report you
 8     A I see -- I mean, I've not                       8 state that, quote, both songs
 9 gone through this with that particular                9 occasionally deploy a, quote, blue,
10 focus in mind, so I can't really give                10 closed quote, third, open paren, (a
11 you a definitive answer.                             11 third degree of the scale that ranges
12     Q But you testified earlier                      12 from minor to major or somewhere in
13 that you reviewed the deposit copy of                13 between), closed paren closed quote.
14 Let's Get It On before you issued your               14        Correct?
15 December of 2017 report, right?                      15     A Yes.
16     A Um-hum. Yes.                                   16     Q Do you agree that the use of
17     Q And I believe you also                         17 an occasional blue -- excuse me, the
18 testified that there was nothing in the              18 use of -- let me start over.
19 deposit copy that would cause you to                 19        Do you agree that the use of
20 change your December 2017 report,                    20 an occasional blue note is not original
21 correct?                                             21 to Let's Get It On RP?
22     A That's correct.                                22     A I would agree with that
23     Q And so that would pertain to                   23 statement.
24 your conclusion about the lyrics, as                 24     Q Would you agree that the use
25 well?                                                25 of an occasional blue note was common
                                                                                    40 (Pages 154 - 157)
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                                             Page 158                                                Page 160
 1                 STEWART                               1                 STEWART
 2 before Let's Get It On RP?                            2     Q Focusing on that second
 3     A Yes.                                            3 sentence about it making a lasting
 4     Q Would you agree in terms of                     4 first impression, is that your expert
 5 pitch that an F is a different note                   5 opinion?
 6 than an F-sharp?                                      6     A Yes.
 7     A Devoid of any context, yes.                     7     Q And what is that opinion
 8     Q Do you -- if you can turn to                    8 based on? What expertise do you have
 9 the deposit copy of Let's Get It On.                  9 in what creates a lasting first
10     A Um-hum.                                        10 impression?
11     Q Do you see any blue notes                      11      A It's based on many things.
12 there?                                               12 It's based first and -- first of all on
13     A Yes.                                           13 my experience as a listener, and I know
14     Q Where do you see them?                         14 that first impressions are important
15     A In the second and third                        15 and tend to be in clear focus because
16 measure. In the fifth measure. Sixth,                16 it's something that a listener is
17 and seventh.                                         17 hearing at the outset. And I have done
18     Q Can you tell me where you see                  18 quite a bit of reading in music
19 it in the third measure?                             19 cognition and my readings in that
20     A On the very first note there                   20 discipline have supported that
21 is a G-flat. But the very first G at                 21 conclusion as well.
22 the beginning of the piece is also --                22      Q What is music cognition?
23 it could be considered within that                   23      A It's the study of how music
24 spectrum. I mean, all the thirds are                 24 is perceived and how mental structures
25 regarded as the same toneme,                         25 conceptualize musical sounds.
                                             Page 159                                                Page 161
 1                 STEWART                               1                STEWART
 2 T-O-N-E-M-E, in analysis of blues.                    2     Q And how is -- was there a
 3     Q Looking at -- going back to                     3 particular methodology that you
 4 your report on Page 4.                                4 employed in determining that the
 5     A Yes.                                            5 opening baseline of the only -- excuse
 6     Q Looking at Example 1.                           6 me, the opening base part of Thinking
 7     A Yes.                                            7 Out Loud creates a lasting first
 8     Q You label that example as the                   8 impression?
 9 basic baselines in Let's Get It On and                9     A I'm not sure I understand the
10 Thinking Out Loud.                                   10 question.
11         Do you see that?                             11     Q Well, what did you do to
12    A Yes.                                            12 determine that it creates a lasting
13    Q And you say in your report                      13 first impression?
14 that --                                              14     A It certainly had that effect
15         MS. RICE: I'm sorry, which                   15 on me. I remember that -- hearing that
16    report is it?                                     16 as the base part of the song.
17         MS. FARKAS: His December                     17     Q And did you conduct any
18    report.                                           18 surveys to determine whether that base
19    Q You state in your report on                     19 part had a lasting first impression on
20 Page 5 that, quote, this is the only                 20 anyone other than you?
21 base part heard for the first 24                     21     A Again, I mean based on my
22 seconds. Because it is in the                        22 research and studying studies in my --
23 beginning of the song it makes a                     23 as a scholar, it's supported by
24 lasting first impression, closed quote.              24 everything that I've done in that work,
25    A Yes, I see that.                                25 as well. That first impressions are
                                                                                     41 (Pages 158 - 161)
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                                             Page 170                                                Page 172
 1                STEWART                                1                STEWART
 2 online, was there any other type of                   2    A Because according to
 3 survey evidence that you did to                       3 Mr. Sheeran there is no base guitar in
 4 conclude that most listeners familiar                 4 this song.
 5 with Let's Get It On would undoubtedly                5    Q Well, what do you think
 6 recognize the similarity?                             6 begins at approximately 24 seconds into
 7     A Well, everybody that I played                   7 Thinking Out Loud?
 8 it for recognized it right away. I                    8    A The drums come in and
 9 played it for colleagues at work. I                   9 keyboards.
10 mean, we can test that. Have I                       10    Q And there's no guitar
11 conducted a survey involving hundreds                11 playing, there's no base guitar
12 of thousands of people where I play the              12 playing?
13 two songs and ask them if they hear                  13    A Not according to Mr. Sheeran.
14 that they're similar? No, I haven't                  14    Q Well, I'm not asking
15 done that.                                           15 according to Mr. Sheeran. I'm asking
16         To my knowledge this just                    16 according to your analysis of the song.
17 seems so obvious that it seems                       17 You listened to the two songs and you
18 ridiculous to keep discussing it.                    18 conducted an analysis of the two songs.
19 That's my opinion.                                   19 Are you amending -- do you want to
20     Q Are you claiming to be an                      20 amend your report?
21 expert on what the lay listener would                21    A Where do I say that the base
22 hear?                                                22 guitar comes in?
23     A It's not really my job -- I                    23    Q The part where you --
24 mean, I'm offering an opinion here, but              24    A Oh, yes, here. Well, no,
25 in copyright law I guess that would be               25 here's a reference to a base guitarist
                                             Page 171                                                Page 173
 1                STEWART                                1                STEWART
 2 considered the intrinsic test. As the                 2 the could be heard and seen in a live
 3 expert I'm supposed to be doing the                   3 performance.
 4 extrinsic test. So my job is to look                  4     Q So I'm going to play for you
 5 at the musical expression and compare                 5 the commercially released version of
 6 it. I'm opining that average listeners                6 Thinking Out Loud. And I'm going to
 7 too would also hear these similarities.               7 say now at -- well, maybe you'll say
 8     Q So that is part of your                         8 now at the 24 second mark. Actually,
 9 opinion here?                                         9 no. I'm going to play it for you and
10     A That's part of my opinion,                     10 if you can let us know when you -- if
11 but ultimately -- at the end of the day              11 and when you hear a base guitar begin.
12 that's not what I'm hired to opine on.               12     (Whereupon, the song is being played.)
13 That would be the job of the jury.                   13     Q That was about the first 51
14     Q Do you agree that the base                     14 seconds of the songs. Is it your
15 guitar part does not begin until                     15 testimony that you haven't heard a base
16 approximately 24 seconds into Thinking               16 guitar come into the song?
17 Out Loud?                                            17     A No, I haven't.
18     A I would not agree with that.                   18     Q What are you hearing after
19     Q I'm asking about the base                      19 the first 24 seconds?
20 guitar part, not the guitar part.                    20     A I told you before I'm hearing
21     A Yes. I understood the                          21 keyboard and drums or drum sequence or
22 question.                                            22 drum machine.
23        I don't agree with that.                      23     Q And you're not hearing any
24     Q Why don't you agree with                       24 base guitar or guitar?
25 that?                                                25     A Guitar is present from the
                                                                                    44 (Pages 170 - 173)
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                                             Page 174                                                Page 176
 1               STEWART                                 1                 STEWART
 2 beginning.                                            2    A The lowest guitar note in the
 3     Q And is the -- in -- your                        3 opening 24 seconds is the baseline,
 4 opinion is that guitar continues after                4 that's what you're asking me?
 5 24 seconds?                                           5    Q Yes.
 6     A Yes. As I stated before,                        6    A Yes.
 7 Mr. Sheeran was very clear that there                 7    Q And does the baseline change
 8 is no base guitar on the entire track.                8 throughout Thinking Out Loud?
 9     Q But I'm asking about your                       9    A That's an interesting
10 testimony and your analysis of the two               10 question. I mean, there is an
11 songs. And your opinion about                        11 additional base part that is added but
12 Mr. Sheeran's testimony -- you didn't                12 this base part continues on. And,
13 hear Mr. Sheeran's testimony until                   13 again, according to Mr. Sheeran, the
14 after you rendered your report,                      14 composition as he did it on his demo is
15 correct?                                             15 the composition. And that does not
16     A That's correct.                                16 contain any other base part except for
17     Q Now, in Example 1 on Page 4,                   17 this part that's notated here.
18 you've only transcribed a portion of                 18    Q So now is your testimony that
19 the opening guitar part, correct?                    19 the demo is the composition?
20     A I'm sorry, where?                              20    A No, I'm saying as regards to
21     Q Your Example 1 on Page 4.                      21 base part he's quite clear that --
22     A That's correct.                                22 that -- okay. Let me revise that.
23     Q Just the lowest notes?                         23        He's very clear that what
24     A That's correct.                                24 he's playing on the demo is the
25     Q And nowhere in your report do                  25 composition and on that you hear only
                                             Page 175                                                Page 177
 1                STEWART                                1                STEWART
 2 you transcribe the full guitar part                   2 this base part. That does not mean
 3 that you hear in the first 24 seconds,                3 that the base part that's added on in
 4 correct?                                              4 the studio version is not part of the
 5    A That's correct.                                  5 composition, too, as it evolved; it is.
 6    Q So your testimony is that the                    6    Q Are the lowest notes of the
 7 only guitar part that you're hearing in               7 keyboard in the first 24 seconds of --
 8 Thinking Out Loud is a guitar part not                8 sorry, at 24 seconds in on Thinking Out
 9 a base guitar, correct?                               9 Loud, are the lowest notes of the
10    A Well, they're two different                     10 keyboard considered the baseline?
11 instruments, base guitar and guitar.                 11    A They're part of it.
12    Q I understand.                                   12    Q What's the baseline of
13    A So you're asking me do I hear                   13 Thinking Out Loud?
14 a base guitar in Thinking Out Loud?                  14    A It's this in Example 1.
15    Q Yes.                                            15    Q You think that continues
16    A I do not.                                       16 throughout the entire song?
17    Q And you only hear guitar?                       17    A Yes.
18    A That's right.                                   18    Q Without change?
19    Q You hear a guitar throughout                    19    A Well, there may be minor
20 Thinking Out Loud, correct?                          20 embellishments and of course it changes
21    A That's correct.                                 21 during the bridge or the pre-chorus or
22    Q Is it your testimony that the                   22 whatever you call it. If I might
23 lowest guitar notes in the opening 24                23 add -- or you don't like me to add, so
24 seconds of Thinking Out Loud is the                  24 I won't.
25 baseline?                                            25        MR. FRANK: Wait for a
                                                                                     45 (Pages 174 - 177)
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                                             Page 190                                                Page 192
 1                STEWART                                1                STEWART
 2 forest.                                               2     I could interpose. Your exact
 3     Q Well, I guess you and Dr.                       3     question was whether the base --
 4 Ferrara are going to have to disagree                 4     guitar came in, you didn't use the
 5 on that one.                                          5     words baseline. You used base
 6        Can you answer my question,                    6     guitar.
 7 please?                                               7     Q I understand.
 8     A Well, actually we agree                         8     A That's what I was listening
 9 because he did the analysis correctly                 9 for because you asked for me to
10 in the beginning. And now he's trying                10 indicate when the base guitar came in.
11 to find something to be rather pedantic              11     Q Okay.
12 about frankly and show that there's a                12     A And it doesn't.
13 difference where there really is not a               13     Q And what does come in?
14 substantial difference.                              14     A There is an additional base
15     Q Okay.                                          15 part the joins the base part in the
16        Well, putting your attacks on                 16 guitar.
17 Dr. Ferrara's integrity aside, can you               17     Q And at the time that you
18 answer my question please?                           18 wrote your December 2017 report, did
19     A And that question is what?                     19 you have an understanding or a belief
20     Q How many notes are in bar two                  20 as to what instrument was playing that
21 of Let's Get It On?                                  21 baseline starting at 25 seconds into
22     A How many notes are in bar two                  22 Thinking Out Loud?
23 of Let's Get It On?                                  23     A I wasn't sure.
24     Q In Musical Example 2.                          24     Q Do you have a sense now as to
25     A One, two, three, four --                       25 what instrument was playing that
                                             Page 191                                                Page 193
 1                STEWART                                1                STEWART
 2 five.                                                 2 baseline?
 3     Q And how many are in bar four                    3      A I would be perfectly happy to
 4 of Let's Get It On in Ferrara Musical                 4 accept Mr. Sheeran's statement that
 5 Example 2?                                            5 it's in the keyboard. I don't know why
 6     A Seven.                                          6 it would be -- he wouldn't have any
 7        MS. FARKAS: Let's take a                       7 reason to fabricate, he seems like a
 8     quick break.                                      8 very honest guy.
 9        VIDEOGRAPHER: The time is                      9      Q Yes, he does.
10     2:56. We're off the record.                      10         And I believe he testified
11        (Whereupon, a brief recess                    11 that it was a programmed keyboard that
12     was taken.)                                      12 played the baseline starting at 25
13        VIDEOGRAPHER: The time is                     13 seconds, is that --
14     3:08 p.m. We're on the record.                   14      A I'm not sure he said that, I
15     Q We were talking earlier about                  15 would have to hear it again. But I
16 what you consider to be the baseline of              16 think he talked about the drums being
17 Thinking Out Loud. And I had played                  17 programmed, I'm not sure he said that
18 for you about 51 seconds of Thinking                 18 the base was.
19 Out Loud and asked you about whether                 19      Q Irrespective of what it was,
20 the baseline changed in Thinking Out                 20 can we at least agree on a lingo going
21 Loud. And I'd like to focus on around                21 forward that we're going to call it the
22 24, 25 seconds into Thinking Out Loud.               22 new baseline?
23 Am I correct that a new baseline comes               23      A The additional baseline I'll
24 in at that point in Thinking Out Loud?               24 agree to.
25        MR. FRANK: If I could -- if                   25      Q Call it the different
                                                                                    49 (Pages 190 - 193)
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                                             Page 194                                              Page 196
 1                STEWART                                1                STEWART
 2 baseline.                                             2    record, Larry got disconnected so
 3    A How about if we compromise,                      3    I'm going to call him back.
 4 the new additional baseline.                          4       MS. FARKAS: Well, before you
 5    Q Sure. We'll all reserve our                      5    mute Larry, have you heard
 6 rights.                                               6    anything since we came back from
 7        What are we calling it?                        7    break? Larry?
 8    A What did you call it a moment                    8       MR. FERRARA: Yes.
 9 ago, the --                                           9       MS. FARKAS: I'm going to
10    Q The new baseline.                               10    summarize and I'm sure I will get
11    A No, but you said another                        11    swatted if I do this incorrectly.
12 term.                                                12    But there is an agreement within
13    Q Well, look, let's just agree                    13    my questioning and the testimony
14 that the baseline that begins at 25                  14    that there is a new baseline that
15 seconds into Thinking Out Loud is                    15    begins at about 25 seconds into
16 different from the baseline that is                  16    Thinking Out Loud, that that new
17 heard in the first 24 seconds of the                 17    baseline -- that Dr. Stewart was
18 song. Is that -- can we agree on that?               18    not certain what instrument was
19    A It joins in along with the                      19    playing that baseline when he did
20 guitar baseline.                                     20    his report, but based on
21    Q So why don't we call it                         21    Mr. Sheeran's testimony is willing
22 Baseline B, this way we're not putting               22    to accept that it is some form of
23 any adjective on it?                                 23    keyboard programmed or not that is
24    A Sure.                                           24    emitting the sounds of the new
25    Q So the baseline that begins                     25    baseline. And for purposes of
                                             Page 195                                              Page 197
 1                 STEWART                               1               STEWART
 2 at roughly 25 seconds into Thinking Out               2    going forward we are calling the
 3 Loud we will now refer to as Baseline                 3    baseline that begins at about 25
 4 B.                                                    4    seconds in as Baseline B.
 5        Okay?                                          5         MR. FERRARA: Thank you.
 6     A And it's nice that it's a B                     6    I'll mute now. Thank you.
 7 for base.                                             7    A Just one minor correction.
 8     Q I try. Sometimes                                8 Remember, we didn't agree to call it
 9 unintentionally, but I try.                           9 the new baseline we agreed to call it
10     A We should have B1 and B2.                      10 the new additional baseline.
11     Q No, no, just stop. This                        11    Q Well, we agreed to call it
12 isn't cutting into my time.                          12 Baseline B.
13        So do you agree that Baseline                 13    A Okay.
14 B in Thinking Out Loud starts at about               14    Q To avoid all of that.
15 25 seconds in and continues through the              15    A But I never agreed to the new
16 duration of the song?                                16 baseline --
17     A I think that that additional                   17    Q Fair enough.
18 base part does continue through most of              18    A -- categorization.
19 the rest of the song.                                19    Q It's very old.
20     Q And am I correct that you do                   20    A Yeah. Okay.
21 not provide any transcription of                     21    Q That was sarcasm.
22 Baseline B in your reports; is that                  22    A It's too bad Dr. Ferrara
23 correct?                                             23 missed all of that, it was exciting.
24     A I believe I don't.                             24         MS. RICE: He would have
25        MR. GOLDSMITH: For the                        25    laughed.
                                                                                     50 (Pages 194 - 197)
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                                             Page 242                                                Page 244
 1                STEWART                                1               STEWART
 2 differently.                                          2    A Yes.
 3    Q Looking at Let's Get It On in                    3    Q And, in fact, while you've
 4 beat four of bar one there's a kick or                4 transcribed all eighth notes in the
 5 base drum in the Let's Get It On RP but               5 high hat for Thinking Out Loud, the
 6 there's no corresponding kick drum in                 6 transcription of the high hat in Let's
 7 Thinking Out Loud, correct?                           7 Get It On starts with a quarter note,
 8    A On beat four?                                    8 right?
 9    Q Yes.                                             9    A I'm scared go back to this
10    A That's correct.                                 10 because I don't want to get you angry
11    Q And that's shown both in your                   11 again.
12 transcription and in the chart that's                12     Q This is the same opening
13 below it, correct?                                   13 thing that you think happens this one
14    A Correct.                                        14 time?
15    Q And on beat four in bar two                     15     A Yes. And we're talking about
16 of Let's Get It On there is a kick or                16 the beginning -- so it's -- I'm sorry,
17 base drum but there's no kick or base                17 should I speak or do you want to speak?
18 drum that corresponds in Thinking Out                18     Q I'll speak.
19 Loud, correct?                                       19     A Yes.
20    A Correct.                                        20     Q You agree that there's a
21    Q And that's notated both in                      21 difference but it's a difference for
22 your transcriptions and in the chart                 22 the same reasons that you previously
23 below, correct?                                      23 testified about that --
24    A Yes.                                            24     A Yes.
25    Q Now, as illustrated in your                     25     Q -- it's unique to the opening
                                             Page 243                                                Page 245
 1                 STEWART                               1                STEWART
 2 Example 2, the similarity between the                 2 of Let's Get It On?
 3 high hat patterns in the two songs are                3    A As I recall, um-hum. And,
 4 repeating eighth notes; is that                       4 again, the drum part in Thinking Out
 5 correct?                                              5 Loud is coming partway into the song.
 6    A On the closed high hat, yes.                     6    Q But it's the beginning of the
 7    Q And do you agree that                            7 drum section, correct?
 8 repeatings eighth notes on the closed                 8    A It is. It is.
 9 high hat symbols is common before Let's               9    Q Focusing on the similarity
10 Get It On?                                           10 that you allege exists between the
11    A Well, this is something that                    11 snare drum in both songs. The
12 happens in all of these depositions,                 12 similarity is that both songs play on
13 you want to separate each element out                13 beats two and four, correct?
14 and talk about whether it ever happens               14    A Yes.
15 in other songs. And I'm happy to do                  15    Q And beats two and four are
16 that, I'll oblige you the best I can.                16 sometimes referred to as backbeats,
17         Yes, a study pattern eighth                  17 correct?
18 notes in the high hat is heard in many               18    A Yes.
19 songs with other varying drum parts                  19    Q Do you agree that a snare
20 underneath it.                                       20 drum playing on the backbeat was common
21    Q Would you agree it's common                     21 prior to Let's Get It On?
22 place in numerous genres of music?                   22    A Yes.
23    A These steady eighth notes on                    23    Q Do you agree that the base
24 the high hat?                                        24 drum patterns in the two songs are not
25    Q Yes.                                            25 identical?
                                                                                    62 (Pages 242 - 245)
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                                             Page 246                                               Page 248
 1                STEWART                                1                STEWART
 2     A They're extremely similar but                   2    A Yes. And I'm quite familiar
 3 not identical.                                        3 with those works.
 4     Q Is it your opinion that the                     4    Q You had mentioned James Brown
 5 drum pattern in Let's Get It On is                    5 before.
 6 original to Let's Get It On?                          6        And do you agree that those
 7     A Original in what sense?                         7 drum patterns are very similar to the
 8     Q Do you believe that the --                      8 drum pattern in Let's Get It On?
 9 whoever created the drum pattern in                   9    A No.
10 Let's Get It On was the first person to              10    Q And how are they different?
11 come up with that drum pattern?                      11    A First of all, the -- there is
12     A In that sense, probably not.                   12 no high hat on -- let's look at his
13 In terms of a more legal definition of               13 example. Which visual example is that?
14 original, meaning not copied, it could               14 I mean, I can kind of do this from
15 very well be original.                               15 memory because I'm so familiar with
16     Q Did the drum pattern in Let's                  16 these tracks, but it might be better to
17 Get It On exist in songs prior to Let's              17 actually look at it.
18 Get It On?                                           18        MR. FRANK: For the record
19     A Most likely, yes, but that                     19    which one are you looking at?
20 doesn't mean that the drummer                        20    Which --
21 necessarily copied it from someone                   21        THE WITNESS: I'm looking
22 else.                                                22    at -- I found it right away,
23     Q I'm not suggesting that Let's                  23    believe it or not, Visual Exhibit
24 Get It On infringes or copies any other              24    I. And I actually have this book,
25 work. I'm simply asking whether you                  25    too, by Jim Payne.
                                             Page 247                                               Page 249
 1                STEWART                                1                STEWART
 2 believe that the drum pattern that                    2        First of all, let's start
 3 exists in Let's Get It On existed in                  3    with Brand New Bag. There's some
 4 songs prior to Let's Get It On?                       4    really important differences here.
 5     A It could have and this                          5    The high hat is used as an open
 6 drummer could have invented it                        6    sound on the and of one and on the
 7 independently, but it could have                      7    and of three. So you have
 8 existed in other songs.                               8    (whereupon, the witness is making
 9     Q Well, in Dr. Ferrara's report                   9    sounds), which is very different
10 he identifies several drum method books              10    than this (whereupon, the witness
11 that show drum patterns very similar,                11    is making sounds), so it's really
12 if not identical, to the drum pattern                12    significantly different. And then
13 in Let's Get It On.                                  13    the backbeat is a click -- it's a
14        Have you looked at those?                     14    rimshot, it's not a snare drum hit
15     A I've looked at the examples                    15    so that sounds completely
16 he provided.                                         16    different.
17     Q And two of those drum                          17        And should we turn to Out Of
18 patterns are from James Brown's 1965                 18    Sight?
19 Papa's Got a Brand New Bag and 1964 Out              19    Q Why do you think it sounds
20 Of Sight.                                            20 completely different?
21        Do you recall those two                       21    A Because it does. Do you hear
22 examples?                                            22 the difference between (whereupon, the
23     A Yes, I do.                                     23 witness is making sounds) and the
24     Q And those obviously predate                    24 difference between a big sonic boom --
25 Let's Get It On, correct?                            25 well boom is not the right -- I'm not
                                                                                    63 (Pages 246 - 249)
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                                             Page 250                                                Page 252
 1                STEWART                                1                 STEWART
 2 sure how -- how would I represent the                 2 microsecond. And then the second
 3 sound of a snare drum? It's very                      3 (whereupon, the witness is making
 4 different than the sort of clean and                  4 sounds), lasts for the whole half beat.
 5 precise and less loud sound on the                    5 So the durations are completely
 6 click.                                                6 different.
 7     Q But looking at Papa's Got a                     7     Q So it's note an eighth note?
 8 Brand New Bag, both songs have high                   8     A Well, this is the way drum --
 9 hats played on eighth notes, correct?                 9 I mean, again, we're back to the
10     A They do.                                       10 conventions of notation. If you wrote
11     Q So you're distinguishing                       11 it in another way it would be really
12 between opened and closed high hat, is               12 hard to visualize what the rhythm is
13 that your distinction there?                         13 and it would be next to impossible for
14     A Well, because it has a                         14 a drummer to read it. Because a
15 incredibly different sound. And so in                15 drummer just wants to see. Okay. I'm
16 a different -- you know, we've been                  16 hitting the high hat on each eighth
17 talking a lot about duration. So the                 17 note.
18 duration of the high hat hit on the and              18     Q Yeah, I mean --
19 of one and on the and of three is much               19     A And then the other
20 longer because the high is open. When                20 information that he's being given here
21 the high hat is closed it's a very                   21 is that that second note is sustained
22 short and crisp note.                                22 by opening the high hat with his foot.
23     Q Don't you have an open circle                  23     Q But it's a bar of music,
24 on Let's Get It On, as well?                         24 right, that's being shown here?
25     A On one note, yes. And it's                     25     A Yes.
                                             Page 251                                                Page 253
 1                 STEWART                               1                STEWART
 2 not clear that that's happening                       2     Q So there's only so many
 3 throughout the whole song.                            3 eighth notes that fit in a bar of music
 4     Q And -- but that doesn't                         4 when you have 4/4 time, right?
 5 change --                                             5     A It would be eight to the bar.
 6     A And it's not clear that --                      6     Q So an eighth note is an
 7 whether it's happening in Thinking Out                7 eighth note is an eighth note in terms
 8 Loud, too. It's really hard to hear on                8 of rhythmic duration, correct?
 9 the track, I listened very closely.                   9     A No. I mean, that sounds
10     Q Okay.                                          10 weird for me to say that, I recognize
11        But while the open or closed                  11 it. But the fact is that this is
12 high hat might change the timbre or the              12 indicating two very different lengths
13 sound, it's not changing the rhythm,                 13 of notes. And this is what's
14 correct?                                             14 incredible about percussion notation is
15     A It's changing -- you put a                     15 that durations become even less
16 lot of emphasis before on duration.                  16 significant in this situation than they
17 It's changing the duration drastically.              17 are in the other situation we're
18     Q It's an eighth note, correct?                  18 talking about with the base. Because
19     A Well, this is a great example                  19 drummers like to just see where they
20 of how something that's represented as               20 hit the drum. That's what they want to
21 an eighth note in both of these first                21 be able it see. So is this first base
22 two notes on a high hate actually have               22 drum kick drum hit in eighth note or
23 completely different durations. One --               23 does he choke it off halfway through
24 the first one is a (whereupon, the                   24 the beat or is it allowed to ring out.
25 witness is making sounds), it's like a               25     Q Okay.
                                                                                     64 (Pages 250 - 253)
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                                             Page 254                                                Page 256
 1                STEWART                                1                 STEWART
 2      A You know, so I'm not trying                    2     A No, I think -- I thought you
 3 to be difficult here, but this is                     3 might mention that. And it's a
 4 really important, I think, in terms of                4 question of genre here, too. You know,
 5 understanding this notation.                          5 this is a different genre being funk
 6      Q And looking at the example of                  6 and sole rather that a rock ballad.
 7 Out Of Sight.                                         7 But that's a valid point you make.
 8      A Yes.                                           8     Q Awesome.
 9      Q There's high hat on the                        9         Turning to Exhibit J to the
10 eighth notes, correct?                               10 Ferrara report.
11     A No. There is no high hat at                    11     A There are other differences
12 all.                                                 12 in these, two, but I guess you're done
13     Q I stand corrected.                             13 with this, right?
14        But the ride symbol pattern                   14     Q For now.
15 is identical to the repeating drum                   15     A So turn to what?
16 patterns in Thinking Out Loud, no?                   16     Q Turn to Exhibit J.
17     A It's a steady stream of                        17         MR. FRANK: That would be one
18 eighth notes, yes. But the ride symbol               18     more over.
19 has a longer sustained than the closed               19     A Its significant differences.
20 high hat, too. So this is going to be                20         Okay.
21 (whereupon, the witness is making                    21     Q Let me try and shortcut this
22 sounds) instead of (whereupon, the                   22 given the time.
23 witness is making sounds).                           23         You're not -- putting aside
24        Sorry. It's not possible to                   24 whether you believe there are
25 transcribe that. But that -- you know,               25 differences between the different
                                             Page 255                                                Page 257
 1                STEWART                                1                STEWART
 2 her difficulty in writing that out is                 2 examples we're giving here, we're not
 3 sort of like our difficulty in notating               3 going to agree on that today. But
 4 it in music. You know.                                4 you're not contending that's anyone can
 5     Q So you think that unless the                    5 own the rhythmic pattern that exists in
 6 exact same percussion instrument is                   6 Let's Get It On, are you?
 7 playing it with the exact same way for                7        MR. FRANK: Objection.
 8 the exact same duration there's no                    8    Predicate. Calls for a legal
 9 similarity between the rhythmic                       9    conclusion.
10 patterns?                                            10        Go ahead.
11     A Well, if you heard these you                   11    A Well, again, I'm a
12 would hear they sound very different.                12 musicologist not a lawyer.
13 And they're also at very different                   13    Q Well, let me --
14 tempos. Look at the tempo here, it's                 14    A And I have --
15 129 and 130. So these are completely                 15    Q Sorry. Let me help you out
16 different types of groves. These are                 16 here then.
17 faster groves. That -- we're talking                 17        If the drum pattern was the
18 about rock ballads in terms of Let's                 18 only thing that you believed was
19 Get It On and Thinking Out Loud.                     19 similar between the two songs and
20     Q So do you think that if                        20 nothing else was similar, would you
21 Thinking Out Loud was a faster tempo                 21 believe that Thinking Out Loud copied
22 than Let's Get It On you wouldn't have               22 from Let's Get It On? Would you think
23 opined that the two songs are                        23 that that was the only conclusion that
24 substantially similar as you claim you               24 someone could reach?
25 have done?                                           25    A Yeah, that's a good question.
                                                                                    65 (Pages 254 - 257)
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                                             Page 258                                                Page 260
 1                STEWART                                1                STEWART
 2 And basically one of the strategies in                2 me to where that is?
 3 these cases that I've encountered in                  3     Q Sure. It's the second
 4 the past is the idea of separating all                4 sentence where it says in my opinion on
 5 these elements and saying each element                5 the top of Page 7 of your report.
 6 by itself is not protectable. So -- I                 6     A Yes.
 7 know this is --                                       7     Q In this sentence are you
 8    Q I'm not --                                       8 opining that the two songs are
 9    A I'll answer your question,                       9 strikingly similar?
10 but give me a -- I'm going to right                  10     A What do you mean by
11 now. Okay. Sorry.                                    11 strikingly similar?
12    Q I'm going to hold you to it.                    12     Q Do you know what strikingly
13    A Yes.                                            13 similar means?
14        The answer is if that's all                   14     A I've heard the term in a
15 that were in common I don't think we'd               15 legal context.
16 be sitting here today if that were in                16     Q And do you have an
17 isolation by itself.                                 17 understanding of what it means?
18    Q And that was the question?                      18     A Roughly, I guess.
19    A Yes. I answered it.                             19     Q And what's your rough
20    Q And so just to close the loop                   20 understanding?
21 on it, you're not contending that the                21     A Yeah, I guess that it would
22 drum parts in and of themselves would                22 preclude a possibility of independent
23 be indicative of copying?                            23 creation.
24    A Only these elements in                          24     Q So you are opining that the
25 combination.                                         25 two songs are strikingly similar in
                                             Page 259                                                Page 261
 1               STEWART                                 1                STEWART
 2    Q Right.                                           2 this sentence?
 3        So the drum parts in                           3     A In terms of the combination
 4 isolation would not be indicative of                  4 of these elements, yes.
 5 copying, correct?                                     5     Q And what led you to that
 6    A Well, it could have probative                    6 conclusion other than the transcription
 7 value but it would not in and of itself               7 of the two songs and the comparison of
 8 be enough to have a definitive proof of               8 them that we've been talking about
 9 copying, no.                                          9 today, anything else?
10        MS. FARKAS: Just off the                      10     A The absence of prior art that
11    record for a second.                              11 has the degree of similarity that these
12        VIDEOGRAPHER: The time is                     12 two songs held.
13    4:18. We're off the record.                       13     Q Can you tell us about whether
14        (Whereupon, a brief recess                    14 you conducted any search for prior art
15    was taken.)                                       15 in this case prior to -- let's start
16        VIDEOGRAPHER: The time is                     16 with prior to issuing your June 2015
17    4:39 p.m. We're back on the                       17 report?
18    record. This is Video 5.                          18     A Yes.
19    Q On Page 7 of your                               19     Q And do you have a particular
20 December 2017 report, and I'm                        20 process that you use when searching for
21 paraphrasing, you say in my opinion the              21 prior art?
22 distinctive combination of these                     22     A Well, believe it or not one
23 baselines and drum parts can only                    23 very useful method has been to ask
24 indicate copying.                                    24 musician friends of mine who have
25    A I'm sorry. Could you point                      25 extensive knowledge of repertoires if
                                                                                    66 (Pages 258 - 261)
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                                             Page 274                                                Page 276
 1                 STEWART                               1                  STEWART
 2 that there was no prior art?                          2     Q Do you believe that anyone
 3     A Well, you know, you can't                       3 can own a groove?
 4 prove a negative.                                     4         MR. FRANK: Objection to
 5     Q True.                                           5     form.
 6     A So you could say that there                     6         Go ahead.
 7 are no green sheep in the world                       7     A That's a great question.
 8 occurring naturally, but I can't prove                8 But, you know, there are a lot of
 9 it. So I think at some point based on                 9 different definitions of what a groove
10 your observation you just say, well, I               10 is.
11 think I've observed or digested enough               11     Q What's your definition of a
12 data to draw this conclusion. And this               12 groove?
13 is a scientific method, I mean, that is              13     A Well, a lot of people use the
14 in universal use.                                    14 term in the sort of more subjective way
15     Q Would you say that your                        15 that it's like a feel. And when it's
16 knowledge of rock music is as deep as                16 defined like that my answer would be
17 your knowledge of jazz music?                        17 categorically no, you cannot own a
18     A No.                                            18 groove.
19     Q Would you say that your                        19     Q Is beginning of vocal phrase
20 knowledge of popular music is the same               20 after a rest something that's original
21 and as deep as your knowledge of jazz                21 to Let's Get It On?
22 music?                                               22     A No.
23     A Once again, it's extensive                     23     Q You have discussed in your
24 and deep in many years of experience                 24 report certain similarities that you
25 performing. But, no, jazz is my -- my                25 believe exist in the vocal melodies
                                             Page 275                                                Page 277
 1                 STEWART                               1                STEWART
 2 passion. I mean, I've done so many                    2 that you've identified in your report.
 3 rock gigs that I can't even begin to                  3 Are you aware of that?
 4 count them.                                           4     A Yes.
 5     Q When you were comparing the                     5     Q Are you contending that any
 6 two songs, did you undertake any effort               6 of those vocal melody similarities in
 7 to exclude elements that are not                      7 and of themselves would be indicative
 8 original to Let's Get It On when                      8 of copying if no other similarities
 9 comparing the two songs?                              9 existed in the two songs?
10    A I think we covered that.                        10     A Yes.
11        Yeah, I didn't consider that                  11     Q Which ones?
12 these first three things we were                     12     A All of the ones that I
13 talking about in my report; tempo, key,              13 mentioned and maybe even some others.
14 length, other performance elements,                  14     Q So looking at Example 3 in
15 certain improvisational elements, so                 15 your report, are you contending that
16 forth.                                               16 the similarities that you claim exist
17    Q Do you believe that the two                     17 in Example 3, that if those were the
18 songs as whole works are identical?                  18 only similarities that existed between
19    A No.                                             19 the songs, would your conclusion be
20    Q Do you believe that they're                     20 that the only explanation is that
21 virtually identical?                                 21 Thinking Out Loud copied from Let's Get
22    A No. The entire songs -- the                     22 It On?
23 songs in their entirety as entire                    23     A No.
24 works, no. The answer is no, which was               24     Q What about Example 4? If
25 what your question was.                              25 that was the only similarity between
                                                                                     70 (Pages 274 - 277)
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                                             Page 278                                                Page 280
 1                 STEWART                               1                STEWART
 2 the two songs, would your conclusion be               2        MS. FARKAS: So I just want
 3 that the only explanation is copying?                 3    to request on the record. We made
 4     A No. You asked me if it could                    4    some references to how much time
 5 be indicative of copying and my answer                5    he's put in for certain things in
 6 is yes. But would it be the only --                   6    his invoice, and so we'd like to
 7 how did you just phrase it?                           7    request on the record copies of
 8     Q Explanation.                                    8    invoices that he's issued to you.
 9     A The only explanation, my                        9        MR. FRANK: Sure.
10 answer is no.                                        10    Q What we would like to do is
11     Q Well, going back to the                        11 I'm going to play you -- I believe we
12 question about being indicative of                   12 have nine recordings, and I simply want
13 copying. If that was -- if either                    13 to know if you recognize them.
14 Example 3 or Example 4 were the only                 14    A Okay.
15 similarities that someone brought to                 15        Nothing more than if I've
16 your attention, would you advise them                16 heard them before?
17 to go forward with a claim?                          17    Q And if you can identify them,
18     A Probably not because the                       18 correct.
19 litigation is so expensive and time                  19    A Um-hum.
20 consuming and stressful that I think                 20    Q And we'll play it -- you can
21 you need to have a very strong case to               21 put your hand up if you've got it.
22 make it actionable.                                  22 There's not -- it's not a test for how
23     Q And that would not be a                        23 long it takes you. Just asking.
24 strong case in your opinion?                         24    A I can name that tune in one
25     A I think that would not. That                   25 note.
                                             Page 279                                                Page 281
 1                STEWART                                1                 STEWART
 2 would be not enough to constitute a                   2    Q Well, we'll see.
 3 strong case, yes.                                     3        MR. FRANK: Are they actual
 4     Q You also identify at some                       4    commercial recordings or are
 5 point the concept -- in Example 5 you                 5    they --
 6 identify certain notes that employ the                6        MS. FARKAS: They should
 7 repeated notes on a descending scale.                 7    be -- yes. My understanding is
 8        Is the concept of repeatings                   8    they're actually -- they're not,
 9 notes on a descending scale original to               9    you know, me. They're actually
10 Let's Get It On?                                     10    commercially released recordings.
11     A No. Original in the sense of                   11        MR. GOLDSMITH: And we'll
12 never having been done before, original              12    identify each as Audio Exhibit 1,
13 in the sense of not a copy?                          13    2 -- so this is Audio Exhibit 1.
14     Q The former.                                    14       (Whereupon, the recording was played.)
15     A No.                                            15    A Yes, I am very familiar with
16        MS. FARKAS: Let's take a                      16 this song, it's Petula Clark.
17     five-minute break and I may be                   17    Q And what's the name of the
18     finished or very close to                        18 song?
19     finished.                                        19    A Downtown.
20        VIDEOGRAPHER: The time is                     20    Q You are one for one.
21     5:04 p.m. We're off the record.                  21    A What's the prize?
22        (Whereupon, a brief recess                    22    Q You get to leave.
23     was taken.)                                      23        MR. GOLDSMITH: Exhibit 2.
24        VIDEOGRAPHER: The time is                     24        (Whereupon, the recording was played.)
25     5:16 p.m. We're on the record.                   25    A Do you want to listen to the
                                                                                    71 (Pages 278 - 281)
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